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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
  SEAKEEPER, INCORPORATED,

                         Plaintiff,
         v.                                           CA No. 1:25-cv-00484-JCB

  DOMETIC CORPORATION,

                         Defendant.


                               DECLARATION OF TIMOTHY HALL

        I, Timothy Hall, declare and state as follows:

        1.      I am over the age of eighteen (18). This declaration is based upon my personal

 knowledge of the facts stated herein or on the business records that were made at the time or in the

 regular course of business.

        2.      I am President of Dometic Corporation.

        3.      Dometic Corporation is a Delaware corporation with a principal place of business

 at O’Hare Plaza II, 8755 West Higgins Road, Suite 620, Chicago, IL 60631.

        4.      Dometic Corporation is an indirect subsidiary of Dometic Group AB, a publicly

 held corporation based in Sweden.

        5.      I understand the Complaint in this lawsuit alleges that Dometic Corporation

 “manufactures, uses, sells, offers for sale and/or imports” the Dometic DG3 gyroscopic stabilizer.

 (the “Dometic DG3”).

        6.      Dometic Corporation did not design the Dometic DG3.

        7.      Dometic Corporation has not manufactured, sold, offered for sale, or imported the

 Dometic DG3 and has no plans to do so.




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        8.      The entity responsible for the design, manufacture, and sale of the Dometic DG3 is

 Dometic Marine Canada, Inc. (“Dometic Marine Canada”), a remote indirect subsidiary of

 Dometic Corporation.

        9.      Dometic Marine Canada is a British Columbia corporation with a principal place

 of business at 3831 No. 6 Road, Vancouver, BC Canada V6V 1P6.

        10.     Dometic Marine Canada is an independent corporation, separate from Dometic

 Corporation.   Dometic Marine Canada is principally responsible for its own management,

 operations, and governance. Dometic Corporation is not responsible for the day-to-day operations

 of Dometic Marine Canada, does not set the policies of Dometic Marine Canada, and does not

 dictate how decisions within Dometic Marine Canada are or should be made. Dometic Marine

 Canada is not an agent of Dometic Corporation.




 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on May 19, 2025                                ____________
                                                                    _____________
                                                                    __
                                                         __________________________
                                                         Timothy Hall




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